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              EXHIBIT A
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                     Exhibit A – Proposed Constructions and Supporting Intrinsic and Extrinsic Evidence

       A.     U.S. Patent No. 8,588,110

Term                                      Headwater’s Proposed Construction                 Samsung’s Proposed Construction
               Claim Term
  #                                           and Supporting Evidence                          and Supporting Evidence

 1      low-level policy agents    Not indefinite; plain and ordinary meaning          Indefinite

        (Claims 12, 13)            Supporting Evidence:                                Supporting Evidence:

                                   Intrinsic Evidence                                  Intrinsic Evidence
                                   ’110 patent at Abstract, 5:28-12:22, 36:63-         ’110 patent at 8:60-9:15; 13:49-14:43; 14:59-
                                   78:28, 81:12-36, Figs. 9, 16, 18-21, 29, 38, 43A-   15:28; 26:53-27:30; 42:22-47; 48:4-37; 49:1-
                                   43B, 44A-44B, and associated written                16; 53:15-50; 75:6-10; 83:52-84:9; 91:18-
                                   description; claims 1-13.                           94:59; 95:27-64; 98:29-67; 104:66-105:37;
                                                                                       claims 1, 12, 13.
                                   Extrinsic Evidence
                                   IPR2024-01337 and related pleadings / filings /     Extrinsic Evidence
                                   declarations                                        Telecom Dictionary (2007) [SAM-HW-
                                                                                       3_00167856–00167858]
                                   Headwater v. Samsung, No. 2:23-cv-00103-
                                   JRG-RSP (E.D. Tex.), Markman Order (Dkt.
                                   118) and related pleadings / filings /
                                   declarations; including definitions and evidence
                                   regarding term “agent”

2       low-level policy rule      Not indefinite; plain and ordinary meaning          Indefinite

        (Claim 12)                 Supporting Evidence:                                Supporting Evidence:
                                   Intrinsic Evidence                                  Intrinsic Evidence
                                   See Intrinsic Evidence for Term #1                  ’110 patent at 8:60-9:15; 13:49-14:43; 14:59-
                                                                                       15:28; 26:53-27:30; 42:22-47; 48:4-37; 49:1-

                                                               1
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Term                                     Headwater’s Proposed Construction                 Samsung’s Proposed Construction
               Claim Term
  #                                          and Supporting Evidence                          and Supporting Evidence

                                   Extrinsic Evidence                                 16; 53:15-50; 75:6-10; 83:52-84:9; 91:18-
                                   IPR2024-01337 and related pleadings / filings /    94:59; 95:27-64; 98:29-67; 104:66-105:37;
                                   declarations                                       claims 1, 12.

                                                                                      Extrinsic Evidence
                                                                                      Telecom Dictionary (2007) [SAM-HW-
                                                                                      3_00167856–00167858]

3      first service activity is   Not indefinite; plain and ordinary meaning         Indefinite
       non-critical
                                   Supporting Evidence:                               Supporting Evidence:
       (Claim 9)
                                   Intrinsic Evidence                                 Intrinsic Evidence
                                   See Intrinsic Evidence for Term #1                 ’110 patent at 95:65-96:47; claims 1, 9.

                                   Extrinsic Evidence
                                   IPR2024-01337 and related pleadings / filings /
                                   declarations

                                   Headwater v. Verizon/T-Mobile/AT&T, Nos.
                                   2:23-cv-00352-JRG-RSP, 2:23-cv-00379-JRG-
                                   RSP, 2:23-cv-00377-JRG-RSP, 2:23-cv-00397-
                                   JRG-RSP, Markman Tentative, Forthcoming
                                   Markman Order, and related pleadings / filings /
                                   declarations; including findings and evidence
                                   regarding terms “service usage activity” and
                                   “background activity”

4      means for obtaining,        Plain and ordinary meaning                         Pursuant to § 112(6):
       through a user interface
       of the wireless device, a   Supporting Evidence:                               Function: obtaining, through a user interface
       user input specifying at                                                       of the wireless device, a user input

                                                                2
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Term                                      Headwater’s Proposed Construction                Samsung’s Proposed Construction
               Claim Term
  #                                           and Supporting Evidence                         and Supporting Evidence

       least an aspect of a first                                                     specifying at least an aspect of a first service
       service policy                                                                 policy
                                    Intrinsic Evidence
       (Claim 26)                   ’110 patent at Abstract, 5:28-12:22, 36:63-       Structure: a user interface and a processor
                                    78:28, 81:12-36, Figs. 7, 9, 16, 18-21, 22A-B,    configured to perform the algorithm steps of
                                    23-24, 46, and associated written description;    providing the user with information and
                                    claims 1, 27.                                     accepting user choices or preferences on,
                                                                                      e.g., service plan selection or change, and/or
                                    Extrinsic Evidence                                other service related information, settings,
                                    IPR2024-01337 and related pleadings / filings /   and/or options
                                    declarations
                                                                                      Supporting Evidence:
                                                                                      Intrinsic Evidence
                                                                                      ’110 patent at 26:43-45; 26:52-27:30; 27:31-
                                                                                      36:64; 36:65-37:2; 65:41-51; Figs. 9-16, 42D
                                                                                      and associated written description; claims 1,
                                                                                      26.

5      means for identifying that   Plain and ordinary meaning                        Pursuant to § 112(6):
       the wireless device is
       connected to the first       Supporting Evidence:                              Function: identifying that the wireless device
       wireless network                                                               is connected to the first wireless network
                                    Intrinsic Evidence
       (Claim 26)                   See Intrinsic Evidence for Term #4                Structure: a processor configured to perform
                                                                                      the algorithm steps of recognizing the type of
                                    Extrinsic Evidence                                network to which the device is currently
                                    IPR2024-01337 and related pleadings / filings /   connecting, e.g., by looking up the
                                    declarations                                      information in a local or network table



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Term                                       Headwater’s Proposed Construction                Samsung’s Proposed Construction
              Claim Term
  #                                            and Supporting Evidence                         and Supporting Evidence

                                                                                       Supporting Evidence:

                                                                                       Intrinsic Evidence
                                                                                       ’110 patent at 26:43-45; 26:52-27:30; 27:31-
                                                                                       36:64; 36:65-37:2; 52:4-13; Figs. 9-16 and
                                                                                       associated written description; claims 1, 26.

6      means for identifying an      Plain and ordinary meaning                        Pursuant to § 112(6):
       intended, attempted, or
       successful data               Supporting Evidence:                              Function: identifying an intended, attempted,
       communication over the                                                          or successful data communication over the
       first wireless network, the   Intrinsic Evidence                                first wireless network, the intended,
       intended, attempted, or       See Intrinsic Evidence for Term #4                attempted, or successful data communication
       successful data                                                                 being associated with the first service
       communication being           Extrinsic Evidence                                activity
       associated with the first     IPR2024-01337 and related pleadings / filings /
       service activity              declarations                                      Structure: a processor configured to perform
                                                                                       the algorithm steps of implementing traffic
       (Claim 26)                                                                      inspection points between the applications
                                                                                       and the networking stack application
                                                                                       interface using a T-buffer at socket
                                                                                       connections and feeding the side traffic into
                                                                                       a traffic flow analyzer

                                                                                       Supporting Evidence:
                                                                                       Intrinsic Evidence
                                                                                       ’110 patent at 26:43-45; 26:52-27:30; 27:31-
                                                                                       36:64; 36:65-37:2; 53:51-55; 53:58-63; Figs.



                                                                  4
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Term                                  Headwater’s Proposed Construction                Samsung’s Proposed Construction
              Claim Term
  #                                       and Supporting Evidence                         and Supporting Evidence

                                                                                  9-16 and associated written description;
                                                                                  claims 1, 26.


7      means for applying the   Plain and ordinary meaning                        Pursuant to § 112(6):
       first service policy
                                Supporting Evidence:                              Function: applying the first service policy
       (Claim 26)
                                Intrinsic Evidence                                Structure: a processor configured to perform
                                See Intrinsic Evidence for Term #4                the algorithm steps of performing a service
                                                                                  control that reduces traffic speed for all
                                Extrinsic Evidence                                applications and traffic types successively
                                IPR2024-01337 and related pleadings / filings /   until the service usage projections are within
                                declarations                                      service usage limits for the present service
                                                                                  billing period

                                                                                  Supporting Evidence:

                                                                                  Intrinsic Evidence
                                                                                  ’110 patent at 26:43-45; 26:52-27:30; 27:31-
                                                                                  36:64; 36:65-37:2; 48:38-49:1; Figs. 9-16
                                                                                  and associated written description; claims 1,
                                                                                  26.




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       B.    U.S. Patent No. 9,647,918

Term                                     Headwater’s Proposed Construction              Samsung’s Proposed Construction
                Claim Term
  #                                          and Supporting Evidence                       and Supporting Evidence

8       the calling device          Not indefinite; plain and ordinary meaning    Indefinite
        application
                                    Supporting Evidence:                          Supporting Evidence:
        (Claims 1, 14)
                                    Intrinsic Evidence                            Intrinsic Evidence
                                    ’918 patent at Abstract, 23:18-24:7, 47:59-   ’918 patent at 124:28-63; 126:32-64; claims 1,
                                    48:46, 62:10-64:25, 74:45-76:34, 93:1-        14.
                                    94:67, 105:41-117:25; Figs. 3, 12-13, 21,
                                    28-30, 31A-31B, 32, 35 and associated
                                    written description; claims 2-13.

                                    Extrinsic Evidence
                                    IPR2024-01396, -1397 and related
                                    pleadings / filings / declarations




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